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                                                                5   Attorneys for Defendants LVMPD, Crumrine, Tran, and Flores
                                                                6                           UNITED STATES DISTRICT COURT
                                                                7                                  DISTRICT OF NEVADA
                                                                8 TRINITA FARMER,                                                Case Number:
                                                                9                               Plaintiff,                 2:18-cv-00860-GMN-VCF
                                                               10         vs.
                                                                                                                       STIPULATION AND ORDER TO
                                                               11 LAS VEGAS METROPOLITAN POLICE                         DISMISS WITH PREJUDICE
MARQUIS AURBACH COFFING




                                                                  DEPARTMENT, et. al.,
                                                               12
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                       Defendants.
                                                               13
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14         IT IS HEREBY STIPULATED between Plaintiff Trinita Farmer, by and through her
                                                               15 attorney of record, Andre M. Lagomarsino, Esq. of Lagomarsino Law; Defendants LVMPD,

                                                               16 Sgt. Crumrine, Ofc. Tran, and Ofc. Flores, by and through their attorney of record, Craig R.

                                                               17 Anderson, Esq. of Marquis Aurbach Coffing; and Defendant Kenneth Lopera, by and

                                                               18 through his attorney of record, Daniel R. McNutt, Esq. of McNutt Law Firm, that the above-

                                                               19 referenced matter be dismissed with prejudice;

                                                               20         IT IS FURTHER STIPULATED that the status check hearing regarding dismissal set
                                                               21 for November 17, 2021, be vacated; and

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                                                                1           IT IS FURTHER STIPULATED that all parties bear their own attorney fees and
                                                                2 costs.

                                                                3           IT IS SO STIPULATED this 28th day of October, 2021.
                                                                4 MARQUIS AURBACH COFFING                       LAGOMARSINO LAW
                                                                5
                                                                    By:     s/Craig R. Anderson           By:   s/Andre M. Lagomarsino
                                                                6         Craig R. Anderson, Esq.             Andre M. Lagomarsino, Esq.
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                                                                8         Attorneys for Defendants LVMPD,     Attorney for Plaintiff
                                                                          Crumrine, Tran, and Flores
                                                                9
                                                                                                                MCNUTT LAW FIRM, PC
                                                               10
                                                                                                                By:      s/Daniel R. McNutt
                                                               11                                                     Daniel R. McNutt, Esq.
MARQUIS AURBACH COFFING




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                                                                                                                      Las Vegas, Nevada 89101
                                                               13                                                     Attorney for Defendant Lopera
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14

                                                               15                                          ORDER
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                                                               17
                                                                                       IT IS SO ORDERED.
                                                               18
                                                                                       IT IS FURTHER ORDERED that the Clerk of Court shall close
                                                               19                      this case.
                                                               20
                                                                                                  28 day of October, 2021.
                                                                                       Dated this ____
                                                               21

                                                               22

                                                               23                      ___________________________
                                                                                       Gloria M. Navarro, District Judge
                                                               24                      UNITED STATES DISTRICT COURT
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